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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 STEVEN HOTZE, M.D., WENDELL CHAMPION,                   )
 HON. STEVE TOTH, AND SHARON HEMPHILL,                   )
                                                         )   Civil Action
        Plaintiffs,                                      )
                                                         )
 v.                                                      )   No. 4:20-cv-03709-ASH
                                                         )
 CHRIS HOLLINS, in his official capacity as Harris       )
 County Clerk,                                           )
                                                         )
        Defendant.                                       )
                                                         )

                                     NOTICE OF APPEAL

       Plaintiffs Steven Hotze, M.D., Wendell Champion, Hon. Steve Toth, and Sharon Hemphill

hereby appeals, pursuant to 28 U.S.C. § 1292(a)(1), to the United States Court of Appeals for the

Fifth Circuit, from the oral Order on November 2, 2020, by the United States District Court,

Southern District of Texas, Houston Division, which denied Plaintiffs’ motion for a preliminary

injunction and also dismissed this case.

Dated: November 2, 2020                             Respectfully submitted,


                                                     /s/ Jared R. Woodfill
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